                           Case 3:25-cv-02519-VC          Document 23       Filed 03/18/25      Page 1 of 3



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                      15                             UNITED STATES DISTRICT COURT
                                                   NORTHERN DISTRICT OF CALIFORNIA
                      16                                SAN FRANCISCO DIVISION
                      17                                                           Case No.: 3:25-CV-02519-VC
                      18
                           Celonis SE and Celonis, Inc.                            PLAINTIFFS CELONIS SE’S AND
                      19                                                           CELONIS, INC.’S NOTICE OF
                                          Plaintiffs,                              MOTION AND MOTION FOR
                      20                                                           PRELIMINARY INJUNCTION
                                  v.
                      21                                                           Date: April 24, 2025
                           SAP SE and SAP America, Inc.                            Time: 10:00 AM
                      22
                                                                                   Judge: Honorable Vince Chhabria
                                          Defendants.
                      23                                                           Courtroom: 4 – 17th Floor

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       LLP                  PLAINTIFFS CELONIS SE’S AND CELONIS, INC.’S NOTICE OF MOTION AND MOTION FOR
  ATTO RNEY S AT LAW
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                                                      PRELIMINARY INJUNCTION
                                                      CASE NO.: 3:25-CV-02519-VC
                            Case 3:25-cv-02519-VC           Document 23         Filed 03/18/25      Page 2 of 3



                       1                               NOTICE OF MOTION AND MOTION

                       2   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

                       3          PLEASE TAKE NOTICE THAT on April 24, 2025, at 10:00 a.m., or as soon as the matter

                       4   may be heard, in the United States District Court for the Northern District of California, San

                       5   Francisco Division, Celonis SE and Celonis, Inc. (collectively, “Celonis”), will and hereby do move

                       6   this Court, pursuant to Fed. R. Civ. P. 65, for a preliminary injunction order enjoining SAP SE and

                       7   SAP America, Inc. (collectively, “SAP”), and all those acting at their direction or in concert with

                       8   them, from the acts set forth in the previously filed proposed order (ECF No. 21), namely: (a)

                       9   implementing and/or enforcing any policy, technical measure, or modification to licensing terms,

                      10   or change to the same, that would inhibit or prevent customers from utilizing Celonis’ ABAP

                      11   extractor to extract their data from the SAP ERP application; (b) implementing any policy change,

                      12   technical measure, or modification to licensing terms that would require customers to pay more to

                      13   extract data for use with non-SAP competitor process mining solutions; and (c) making, issuing, or

                      14   causing to be made any communications with or directed at customers suggesting that using Celonis

                      15   will: (i) negatively impact customers’ migration to S/4HANA, pose a risk to customers’ system

                      16   stability or is otherwise incompatible with SAP or (ii) require customers to obtain a full-use license

                      17   or pay other fees not imposed on Signavio customers. SAP should be directed to allow Celonis’

                      18   ABAP extractor to continue operating with SAP’s ECC and S/4HANA platforms without

                      19   additional cost until (1) the completion of all legal proceedings in this Action, including all appeals,

                      20   or (2) further order of the Court. Such protections should extend to Celonis’ affiliates, partners,

                      21   employees, users, and customers.

                      22          This motion is made on the grounds that: (1) absent a preliminary injunction, Celonis is

                      23   likely to suffer irreparable harm; (2) Celonis is likely to succeed on the merits of its claims; (3) the

                      24   balance of equities tips sharply in Celonis’ favor; and (4) the public interest supports an injunction.

                      25   This motion is based upon the Complaint in this action; this Notice of Motion; the previously filed

                      26   Memorandum of Points and Authorities; the previously filed Proposed Order; the previously filed

                      27   Declarations of Hayk Zargaryan, William Mark Jacobs, and Kostis Hatzitaskos, Ph.D. (ECF No.

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                            Case 3:25-cv-02519-VC        Document 23      Filed 03/18/25     Page 3 of 3



                       1   21); all matters with respect to which this Court may take judicial notice; and such oral and

                       2   documentary evidence as may be presented to the Court.

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                           Dated: March 18, 2025                       Respectfully submitted,
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                       5                                               By: /s/ Michael M. Maddigan
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